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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Richmond Division


TIMOTHY CHARLES HOLMSETH                     )
                                             )
        Plaintiff,                           )
                                             )
v.                                           )              Case No. 3:18cv361
                                             )
                                             )              PLAINTIFF DEMANDS
KIM LOWRY PICAZIO                            )              TRIAL BY JURY
WILLIAM K. MURTAUGH                          )
KAREN DENISE GAUR                            )
                                             )
-and-                                        )
                                             )
JOHN DOES 1-5                                )
                                             )
        Defendants.                          )
                                             )


                                 COMPLAINT
        Plaintiff, Timothy Charles Holmseth, by counsel, files the following Complaint

against Defendants, Kim Lowry Picazio (“Picazio”), William K. Murtaugh (“Murtaugh”),

Karen Denise Gaur (“Gaur”), and John Does 1-5, jointly and severally.

        Plaintiff seeks (a) compensatory damages and punitive damages in an amount not

less than $2,350,000.00, (b) prejudgment interest on the principal sum awarded by the

Jury from January 1, 2018 to the date of Judgment at the rate of six percent (6%) per year

pursuant to § 8.01-382 of the Virginia Code (1950), as amended (the “Code”), (c)

attorney’s fees pursuant to § 18.2-152.12 of the Code, and (d) costs incurred – arising out

of Defendants’ common-law conspiracy, defamation per se, intentional infliction of

emotional distress, and personal trespass by computer and computer harassment.



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                                 I. INTRODUCTION

       America’s darkest secret is pedophilia and child trafficking.

       Journalists, like Timothy Holmseth – who seek to expose the perpetrators,

uncover the truth, work with the FBI and facilitate criminal prosecutions – are subject to

death threats, threats to kidnap and rape family members, mutilation, tortious interference

with business and employment, blackmail, extortion, vandalism, intimidation, and

malicious and unrelenting ad hominem personal attacks. Often, as in this case, the

perpetrators employ a technique called “gaslighting” – they, inter alia, defame the

investigator by accusing him of heinous acts and crimes they themselves have committed.

[See   https://www.psychologytoday.com/us/blog/here-there-and-everywhere/201701/11-

warning-signs-gaslighting].

       This case involves multiple acts of gang-stalking that occurred in Virginia and

elsewhere between July 2017 and the present. Acting in concert and conspiracy in

violation of Title 18 U.S.C. § 241, the Defendants used social media and websites they

controlled and operated to injure, oppress, threaten and intimidate Timothy Holmseth in

the free exercise of or the enjoyment of rights and privileges secured to him by the

Constitution and laws of the United States and because Timothy Holmseth exercised his

First Amendment rights as a journalist to report on matters of public concern –

pedophilia, child trafficking, and child pornography. The Defendants and/or operatives

acting at their direction, created fake Twitter accounts, including “@OpExposeTH”, hid

behind anonymous effigies, and published hundreds perhaps thousands of false and

defamatory statements about Tim Holmseth, including the following:




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       In this case, Timothy Holmseth seeks money damages for the extreme insult,

pain, embarrassment, humiliation, mental suffering, and destruction of his good name and

reputation. Defendants’ indiscriminate and persistent use of social media and the Internet

to defame must be stopped. Picazio holds a law license. She has committed criminal or

deliberately wrongful acts that reflect adversely on her honesty, trustworthiness or fitness

to practice law. She has engaged in conduct involving dishonesty, fraud, deceit and

misrepresentation. She and her confederates cannot be allowed to use social media as a

weapon to injure human beings. The Defendants should be punished for their unlawful

actions and a very strong message needs to be sent to prevent others from acting in a

similar way.


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                                     II. PARTIES

       1.      Plaintiff, Timothy C. Holmseth (“Holmseth”), is an award-winning

journalist, investigative reporter and author. He was born June 17, 1968. He has two

children, Marina and Hoff. He is a citizen of Minnesota. He is a private individual.

Over his long career in journalism, Holmseth has been employed by several newspapers;

he published in various magazines as both a staff and freelance writer; and he served as

the news director of a radio station. In 2007, Holmseth received two 1st Place awards

from the North Dakota Newspaper Association. One of the awards was for Best News

Series regarding an on-going story involving public corruption and misconduct. His

reporting spanned nearly a year.      In addition to his media career, Holmseth is a

songwriter. He has worked for various music companies and for an internationally

acclaimed social service agency in a refugee re-location program. He assisted refugees

that were oppressed and persecuted and/or victims of violence and torture. In 2009,

Holmseth investigated the disappearance of five-year-old, HaLeigh Cummings

(“HaLeigh”), from her father’s trailer home in Satsuma (Putnam County), Florida. The

FBI immediately issued a Missing Person alert:




The little girl’s mysterious disappearance made national headlines:



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         https://www.youtube.com/watch?v=Y1PlszjkZ5Q;

         https://www.youtube.com/watch?v=P4oMFrM9tNA;

         https://www.youtube.com/watch?v=8OBfC3Zig3s

         https://www.youtube.com/watch?v=5y8jxkU9qFs

         http://www.foxnews.com/story/2009/02/22/missing-florida-girl-family-pedophile-

cousin-took-haleigh-cummings.html.

Holmseth authored a book on the subject of HaLeigh Cummings’ disappearance, entitled

“In      Re:        HaLeigh     Cummings        –       The     Shocking    Truth     Revealed”.

[https://www.amazon.com/Re-Cummings-Timothy-Charles-Holmseth/dp/0615429491].

Holmseth’s investigation and reporting on the HaLeigh Cummings story, pedophilia,

child sex trafficking, child pornography and many other matters of great public concern

appear         on      Holmseth’s       websites,       http://www.writeintoaction.com/      and

https://haleighcummingsdotme.wordpress.com/,              and    on   his   YouTube     channel,

https://www.youtube.com/user/floodofnoah/videos?disable_polymer=1               and     on   his

Twitter account. [https://twitter.com/tholmseth?lang=en].

         2.         Defendant, Picazio, is an individual who is a citizen of Florida. Picazio is

an attorney. She lives and works in Fort Lauderdale (Broward County), Florida. Shortly

after HaLeigh was abducted, Picazio offered her services pro bono to Crystal Sheffield

(“Sheffield”), the mother of the missing girl, HaLeigh Cummings. In March 2009,

Holmseth was contacted by Picazio. Shortly thereafter, he was contacted by various

employees and staff of Picazio, including William “Cobra the Bounty Hunter” Staubs, a

private investigator working for Picazio. Between March 2009 and July 2009, Holmseth

tirelessly investigated HaLeigh’s disappearance. Holmseth:




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       ●       Conducted over one-hundred hours of interviews with witnesses, law
               enforcement, lawyers, social services, and others;

       ●       Obtained highly sensitive information regarding the activities of satanic
               organized crime in Florida;

       ●       Obtained the names of kidnapping operatives who claimed to be FBI and
               CIA agents;

       ●       Was told intimate details about why HaLeigh Cummings was missing,
               who really took her, how they did it, who police had questioned, and
               illegal activities of the participants to escape prosecution;

       ●       Learned that HaLeigh’s kidnapping was executed by the same group that
               was responsible for the death of a two-year-old from Orlando, named
               Caylee Anthony; 1

       ●       Captured members of an organized group discussing pornographic photos
               of five- year-old HaLeigh Cummings that featured close-ups of her
               assaulted vagina;

       ●       Discovered that the child porn was in the secret possession of a Florida
               law office 2 and being distributed through an underground network of
               operatives within law enforcement that included a social worker with the
               Florida Department of Children and Families;

       ●       Discovered that the Florida law office was working with persons that were
               impersonating federal agents and police officers.

As a result of his investigation and reporting, Holmseth became the target of an organized

criminal enterprise that began to contact his family, friends, employers, police, social

services, and initiated a non-stop gang-stalking and cyber-stalking campaign against

Holmseth. The Defendants and their many anonymous agents threatened to murder


       1
               In the summer of 2008, Orlando, Florida, toddler Caylee Anthony
disappeared, only to be discovered six months later a short distance from her home, her
skeletal remains stuffed in plastic bags and her mouth sealed with duct tape. Her mother,
Casey Anthony, was charged with the horrific crime after not reporting her daughter
missing for a month, and allegedly lying to police. The unsolved murder and trial of
Casey Anthony captured national attention for many years. [See, e.g.,
https://www.cbsnews.com/news/caylee-anthony-the-untold-story/].
       2
               The Florida law office in question was the Law Office of Kim Picazio.


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Holmseth, rape and mutilate him. Holmseth was extorted and blackmailed. Every

employer was told to fire Holmseth. Defendants demanded that Holmseth remove his

publications from the Internet and to stop searching for HaLeigh Cummings. As the

2016 Presidential election drew near, Holmseth was threatened on a regular basis about

his work on the HaLeigh Cummings, Caylee Anthony, JonBenet Ramsey, Jacob

Wetterling, and Dylan Redwine cases. Holmseth received calls from shadow operatives

believed to be in Virginia who used voice changing software and fake caller

identification to make it appear that the calls came from Clinton Global, The Trump

Organization, CNN, Republican National Committee, and other high-profile numbers.

The threatening calls continued after the election. One call, purportedly coming from the

Doral Gold Resort, stated as follows:




Holmseth was warned to remove his publications from the Internet or suffer

consequences.    Holmseth’s supporters in Virginia, including Susan Earman from

Colonial Beach, Virginia (“Earman”), were targeted and viciously attacked. In one video

orchestrated by the Defendants, they masqueraded as “Anonymous” and made the

following statements:




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       “We are Anonymous. We would like to inform you of society’s scourge: the
       pedophile supporter, Susan Putman Earman of Colonial Beach, Virginia. Susan
       Earman, aka Astro X on Twitter has harassed Anons and has attempted to use
       them as her own personal army. This is not tolerated. Susan Earman is defending
       a man named Timothy Holmseth that frequently blogs his disgusting child rape
       fantasies about missing child, HaLeigh Cummings. Astro X you are being out on
       notice that as a pedophile supporter you are now on our radar, and we will take
       every means necessary to remove your filth and those like you from the Internet.
       This means doxxing3 every member of your family and posting your pedophile
       supporting behavior on the Web for the World to see. You have angered the hive
       Susan. We are anonymous. We are legion. We do not forgive.”

[https://haleighcummingsdotme.wordpress.com/2015/07/07/satanic-cult-releases-video-

about-haleigh-cummings/]. Defendants’ operatives were physically present in Virginia

and even went by what they believed to be Ms. Earman’s place of business in Colonial

Beach. Holmseth was similarly attacked and defamed by “Anonymous” in a video that

used essentially that same false and defamatory statements, epithets and threats.

[https://www.youtube.com/watch?v=lfHnwMd_RN4&feature=youtu.be&a].

       3.      Defendant, Murtaugh, upon information and belief, is an individual who

lives in Florida. At all time relevant to this action, Murtaugh and Picazio were working

in   concert    to   defame     Holmseth.         Murtaugh    operates   the   website,

http://williamkmurtaugh.com/,    and    Twitter    account,   @MURTWITNESSONE.

[https://twitter.com/murtwitnessone?lang=en]. On an almost daily basis between July

2017 and December 2017, Murtaugh and Picazio trolled Holmseth on the Internet. They

engaged in wholesale character assassination.      They published numerous false and

defamatory statements about Holmseth, accusing him of lying, fraud, dishonesty and


       3
              “Dox” means to publicly identify or publish private information
about (someone) especially as a form of punishment or revenge.
[http://www.chicagotribune.com/news/opinion/commentary/ct-perspec-doxxing-
web-site-internet-facebook-private-information-emails-comments-private-data-
0521-story.html; https://www.merriam-webster.com/dictionary/dox].



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 other crimes and bad acts that imputed to Holmseth an unfitness to perform the duties of

 a journalist and investigative reporter and that highly prejudiced Holmseth. See, e.g.:

            https://murtwitnessonelive.com/2017/07/tim-holmseth-accused-of-lying-in-order-

 to-vacate-claim/;

            https://murtwitnessonelive.com/2017/07/is-it-time-to-look-at-tim-holmseth-as-a-

 suspect-in-the-disappearance-of-haleigh-cummings/;

            https://murtwitnessonelive.com/2017/08/tim-holmseth-v-the-internet-timmy-

 throws-a-temper-tantrum-after-being-served-with-a-notice-of-removal/;

            https://murtwitnessonelive.com/2017/08/timothy-holmseth-v-the-internet-tim-

 exploiting-his-children-in-the-spread-of-false-propaganda/;

            https://murtwitnessonelive.com/2017/08/timothy-holmseth-v-the-internet-the-

 spin/;

            https://murtwitnessonelive.com/2017/09/timothy-c-holmseth-claims-anonymous-

 is-after-him-or-are-they/;

            http://murtwitnessonelive.com/2017/09/timothy-c-holmseth-has-once-again-

 accused-me-of-being-an-accessory-in-either-the-murder-or-kidnapping-of-a-child/;

 http://murtwitnessonelive.com/2017/09/timothy-c-holmseth-cyber-terrorist/;

            http://murtwitnessonelive.com/2017/09/timothy-charles-holmseth-broke-and-

 losing/;

            http://murtwitnessonelive.com/2017/09/timothy-holmeth-ignores-a-possible-lead-

 in-a-missing-child-case/;




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           http://murtwitnessonelive.com/2017/10/i-am-not-her-i-am-a-different-her/;

 http://murtwitnessonelive.com/2017/11/in-defiance-of-a-court-order-tim-holmseths-

 banned-book-listed-on-amazon/;

           http://murtwitnessonelive.com/2017/11/parsing-the-contents-of-a-banned-book-

 why-did-the-author-give-up-the-fight/;

           http://murtwitnessonelive.com/2017/12/the-holmseth-files-much-ado-about-

 nothing/.

 In 2018, Murtaugh and Picazio used the website www.williamkmurtaugh.com to make,

 publish and republish false and defamatory about Holmseth, including:

                   a.       On February 9, 2018, Murtaugh and Picazio accused Holmseth of

 exploiting HaLeigh Cummings’ name for financial gain:




 They falsely stated that Holmseth was “using the name of the child simply to garner

 donations … What the blogger is doing is not that uncommon. There are many out there

 who will abuse a crime victim in this way or attach themselves to a cause simply as a

 vehicle to garner an income … Greed sometimes overtakes decency and morality and

 what        the        blogger    [Holmseth]        is   doing   is     no     exception.”

 [http://williamkmurtaugh.com/2018/02/09/exploiting-the-name-of-a-child-for-financial-

 gain/].



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                b.       On February 21, 2018, Murtaugh and Picazio accused Holmseth of

 “internet terrorism”:




 They falsely stated that:




 [http://williamkmurtaugh.com/2018/02/21/internet-terrorism-a-timothy-charles-holmseth-

 legacy-a-twitter-visit-from-jim-paul/].

                c.       On April 4, 2018, Murtaugh and Picazio associated Holmseth with

 the women who shot up YouTube headquarters:




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 They falsely stated:




 [http://williamkmurtaugh.com/2018/04/04/dangerous-parallels-of-disgruntled-on-line-

 social-media-personalities/].

                d.      On April 26, 2018, Murtaugh and Picazio accused Holmseth of

 lying to the Governor of Minnesota and feeding him “false and misleading material” and

 “misinformation”:




 They falsely stated that Holmseth “committed an act known in journalism as ‘a lie of

 omission [sic].’ … His motive once again seems to elevate himself to some level of

 importance and prominence amoung [sic] the ‘pedogate’ crowd and/or the ‘pizzagate’

 hoaxters. He and his peers do not do the due diligence of ethical journalists when it

 comes to fact checking their information or doing the necessary research to verify the

 information they are presenting to the public … It is a growing problem where these


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 gullible and weak-minded minions are exploited by the conspiracy theorists who have

 found an easy way to garner revenue and prominence through these extreme deceptions.”

 In addition to the words and statements described above in subparagraphs (a)-(d),

 Murtaugh and Picazio also falsely accused Holmseth of manufacturing “fake” or “hoax”

 recordings:




 [http://williamkmurtaugh.com/2018/01/08/conspiracy-theorist-posts-and-then-deletes-

 alleged-child-sacrifice-video-from-youtube-and-blog-accounts/]. Murtaugh and Picazio

 also published false statements that Holmseth was being investigated by the FBI and that

 “federal charges” were “likely” to be “levied against Mr. Holmseth”:




 [http://williamkmurtaugh.com/2018/03/13/terrible-times-for-timothy-holmsth-legal-

 problems-continue-to-mount-as-new-charges-filed-and-more-arraignments-are-

 scheduled/].

        4.      Defendant, Gaur, is a citizen of Virginia who lives within the Eastern

 District (in Virginia Beach, Virginia). At all times relevant to this action, Gaur acted in

 concert and combination with Murtaugh and Picazio to further the common scheme, plan

 and goal to defame Holmseth. In January 2018, Picazio, Murtaugh and Gaur unlawfully

 used the online free petition service iPetitions, www.ipetitions.com, to sponsor a fake and




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 fraudulent “Petition” to have Holmseth “involuntarily” committed to a “mental

 institution”. The Defendants’ “petition” violated iPetitions Terms of Service, which

 prohibit any use of the website for an “unlawful” purpose. Defamation is unlawful.

 There is no basis under any law for Holmseth’s involuntary commitment to a mental

 institution.   Defendants’ “petition” was yet another instance of gang-stalking.        The

 “petition” begins with the following false and defamatory words:




 In truth, the “petition” is not real. Rather, the Defendants used it as yet another platform

 to defame Holmseth. The “petition” concludes with the following odious comments:



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 The “petition” is signed:




        5.      Defendants, John Does 1-5, are co-conspirators of Picazio, Murtaugh and

 Guar, who have participated in the joint scheme to defame Holmseth. One or more of the

 John Doe Defendants, upon information and belief, lives or works in Virginia. None of

 the John Doe Defendants are known or believed to be citizens of Minnesota. At this

 time, and subject to discovery, John Does are believed to include Levi Page (“Page”)

 [https://twitter.com/Levi_Page?ref_src=twsrc%5Egoogle%7Ctwcamp%5Eserp%7Ctwgr

 %5Eauthor], and Tina Wilemon-Church (“Church”). Church is or was the president of

 Specialized Investigative Consultants, Inc., an entity implicated by Holmseth in his

 investigation of the disappearance of HaLeigh Cummings. Not content with just one (1)

 phony “petition”, Picazio, Murtaugh, Gaur, and Church published a second “petition”

 relating to Holmseth that contained additional false and defamatory statements:




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 Church has been gaslighting and harassing Holmseth for years, filing false police reports

 that Holmseth has HaLeigh Cummings in his apartment, calling Holmseth delusional, etc.

 [See, e.g., https://www.youtube.com/watch?v=C2SmSsPhk14].

        6.      The means and methods employed by the Defendants, including the

 creation of multiple fake Twitter accounts, the use of a “Radionewz Blog”

 (http://radionewz1.rssing.com/chan-7616249/all_p136.html),     and    the   operation   of

 multiple wordpress.com websites (including https://exposingholmseth.wordpress.com/) to

 troll and defame Holmseth, the words they used, and the timing of the various

 publications shows concerted action in Virginia and elsewhere to defame Holmseth.

                           III. JURISDICTION AND VENUE

        7.      The United States District Court for the Eastern District of Virginia has

 subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1332. The parties are

 citizens of different States and the amount in controversy exceeds the sum or value of

 $75,000, exclusive of interest, costs and fees.



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           8.   Defendants are subject to personal jurisdiction in Virginia pursuant to

 Virginia’s long-arm statute, § 8.01-328.1(A)(1), (A)(3) and (A)(4) and § 8.01-328.1(B) of

 the Code, as well as the Due Process Clause of the United States Constitution. One or

 more of Picazio and Murtaugh’s co-conspirators, including Gaur and those persons who

 targeted Earman, lives in Virginia within the Eastern District and has been physically

 present in Virginia acting in furtherance of the conspiracy to defame Holmseth. Picazio

 and Murtaugh have engaged in a persistent and ongoing course of defamation that has

 injured Holmseth in Virginia.      Picazio and Murtaugh have minimum contacts with

 Virginia such that the exercise of personal jurisdiction over them comports with

 traditional notions of fair play and substantial justice and is consistent with the Due

 Process Clause of the United States Constitution. The blogs, articles, tweets, retweets,

 “petitions” and other publications by Defendants were (and are) made, in part, from

 Virginia and were purposefully directed at Virginia. Defendants’ contacts with Virginia

 were (and are) continuous and systematic. Holmseth’s claims directly arise from and

 relate to the Defendants’ publication of false and defamatory statements in Virginia.

 Calder v. Jones, 465 U.S. 783 (1984); Keeton v. Hustler Magazine, Inc., 465 U.S. 770

 (1984).

           9.   Venue is proper in the Richmond Division of the United States District

 Court for the Eastern District of Virginia because the Defendants’ agents were/are

 physically present in Virginia and published and republished defamatory statements to a

 wide audience that includes persons who reside within the Richmond Division.                A

 substantial part of the events giving rise to the claims stated in this action occurred in the

 Eastern District of Virginia.




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                    IV. STATEMENT OF ADDITIONAL FACTS

 A.       Motive For The Defamation

          10.   HaLeigh Cummings vanished on February 10, 2009. She has never been

 found.

          11.   In or about April 2009, when he was first contacted by Cobra Staubs –

 Picazio’s private investigator – Holmseth operated a website. Holmseth was known for

 his investigative journalism. Cobra told Holmseth that Picazio needed some independent

 news coverage about a missing child that had been kidnapped named HaLeigh

 Cummings. Holmseth was soon contacted by both Picazio and by many members of her

 office staff and associates. In May of 2009, Picazio told Holmseth that she was a

 member of the “HaLeigh Task Force” and was working alongside detectives. Holmseth

 later discovered that Picazio was lying.    Picazio repeatedly telephoned and emailed

 Holmseth, offering inside information that she wanted published. Holmseth recorded all

 the calls with Picazio and her employees and agents, including Cobra Staubs.

          12.   As he interviewed witness after witness and dug into the disappearance of

 HaLeigh Cummings, Holmseth discovered that the group he was talking with knew the

 whereabouts about of the missing child and were hiding her. Holmseth learned from

 Picazio’s legal assistant, Donald Knop (“Knop”), that Picazio was in possession of child

 rape pornography that had been created of HaLeigh and that Picazio had never turned the

 photographs over to law enforcement. Knop told Holmseth that Picazio handed him the

 pornographic pictures of HaLeigh, and told him to put the pictures on a CD. Holmseth

 learned that Knop gave a copy of the CD to Florida Department of Children and Families




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 social worker, Bonnie Warner (“Warner”), who was involved in the HaLeigh Cumming

 case. In one recorded conversation, Knop confirmed that:

                   “HOLMSETH:         Did a copy [of the CD] get to Bonnie Warner?

                   KNOP:              I delivered it to Bonnie in a parking lot of a gas
        station.

                HOLMSETH:           I remember you saying that.           And the photos
        actually show HaLeigh’s vagina?

               KNOP:                  Yeah. It showed her in her various, eh, various
        poses of, of eh, undress.”

 During a taped call with Cobra Staubs, Warner admitted that she received the CD in the

 gas-station parking lot several months after HaLeigh Cummings was reported missing.

 Warner also told Staubs that she had not shown the pictures to her supervisor. Another

 witness interviewed by Holmseth was Rae Elizabeth Klein a/k/a Wayanne Kruger
                                                                                             4
 (“Kruger”), an associate of Picazio and a client of high-profile attorney, Gloria Allred.

 Kruger told Holmseth that Picazio and her husband, Michael Picazio (a convicted felon)

 took babies from new and/or poor mothers and sold them on the international black

 market. An excerpt from one of Holmseth’s recorded interviews with Kruger reveals the

 following stunning detail:

                   “KRUGER:           They were funding fake adoptions.

                   HOLMSETH:          Kim Picazio was?




        4
                 Kruger is a protégé of Allred. Kruger is a nationally renowned victim’s
 advocate and the author of Inborn Justice. [https://www.facebook.com/Wayannemae;
 https://plus.google.com/100426927765972481131]. Her work has been featured in
 People Magazine, the L.A. Times, the Washington Post, etc. Kruger is a professional
 colleague of Picazio and worked with Picazio during the HaLeigh Cummings case.
 Kruger provided Holmseth with telephone and email records between herself and Picazio.


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                KRUGER:              Yeah. I mean she’s actually – she’s not a divorce
        lawyer – she’s a, she’s a baby seller – she’s a broker – she’s selling babies and
        kids to couples and she doesn’t care who they are – just give me your money.”

 Kruger explained to Holmseth that Picazio associate (a pastor) John Regan (“Regan”)

 told her that he was a CIA/FBI agent who once reported directly to Washington and a

 child prostitution ring in Putnam County, Florida. Holmseth was told that Regan worked

 with Picazio and her husband to sell babies and children, which they moved through the

 U.S. Embassy using fake medical records and church dossiers. In 2011, Cobra Staubs

 gave Holmseth a sworn Affidavit that confirmed the following facts:




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 Cobra Staubs further testified under oath that:




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 The information about Picazio – provided to Holmseth by Picazio’s own staff and

 employees – was corroborated by independent third-parties, including Karen Simmer. In

 sum, the evidence presented to Holmseth indicated that Picazio was involved in a large

 child sex trafficking operation.

        13.     In June 2009, Holmseth alerted the Florida Attorney General and the FBI

 about his findings.

        14.     In July 2009, Holmseth prepared a preliminary report of his investigative

 findings for the FBI:




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 (the “FBI Report”). The twenty-two (22) page FBI Report summarized Holmseth’s

 evidence and conclusions.

        15.    A true copy of Holmseth’s FBI Report is attached as Exhibit “A”.

        16.    In February 2010, the FBI interviewed Holmseth at the United States

 Courthouse in North Dakota. Minneapolis FBI Special Agent, A.J. Eilerman, found

 Holmseth to be credible.

        17.    Ever since he contacted the FBI in July 2009, Holmseth has been under

 siege by the Defendants, who have threatened him, threatened his family (including

 threats to kidnap his grand-daughter), falsely accused of him of being a pedophile and a

 dangerous psychopath, and filled the Internet with malicious falsehoods.

                     COUNT I – COMMON LAW CONSPIRACY

        18.    Holmseth restates paragraphs 1 through 17 of this Complaint and

 incorporates them herein by reference.

        19.    Beginning in July 2017 and continuing through the present time, Picazio,

 Murtaugh, Gaur and the John Doe Defendants combined, associated, agreed or acted in

 concert (a) together and (b) with others, including the operators of multiple YouTube

 channels and Twitter accounts and multiple anonymous agents who have trolled

 Holmseth on YouTube and Twitter, for the express purpose of injuring Holmseth in his

 business and reputation through the publication and republication of false and defamatory

 statements. In furtherance of the conspiracy and preconceived joint plan, the Defendants

 orchestrated a scheme the unlawful purpose of which was to defame Holmseth, destroy

 his reputation and will, and cover-up Picazio’s criminal acts. Acting in concert, the

 Defendants utilized email, text messages, the Internet and various social media




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 properties, including YouTube and Twitter, to publish, republish and spread the

 defamation and character assassination.

        20.    Picazio, Murtaugh, Gaur and the John Doe Defendants acted intentionally,

 purposefully, without lawful justification, and with the express knowledge that they were

 injuring Holmseth.

        21.    Picazio, Murtaugh, Gaur and the John Doe Defendants’ actions constitute

 a conspiracy at common law.

        22.    As a direct result of Picazio, Murtaugh, Gaur and the John Doe

 Defendants’ willful misconduct, Holmseth suffered damage and loss, including, but not

 limited to, injury to business, property loss, injury to professional and personal

 reputation, prestige and standing, pain and suffering, insult, humiliation and

 embarrassment, attorney’s fees, court costs, and other damages in an amount to be

 determined by the Jury, but not less than $2,000,000.00.

                         COUNT II – DEFAMATION PER SE

        23.    Holmseth restates paragraphs 1 through 22 of this Complaint and

 incorporates them herein by reference.

        24.    Picazio, Murtaugh, Gaur and the John Doe Defendants published and

 republished to third-parties – including, without limitation, patrons of Murtaugh’s

 websites, Twitter followers and YouTube subscribers – numerous false factual

 statements, which are detailed verbatim above, of or concerning Holmseth.

        25.    By publishing YouTube videos, tweets, retweets and blogs on the Internet

 and by soliciting comments from third-parties, Picazio, Murtaugh, Gaur and the John Doe

 Defendants knew or should have known that their defamatory statements would be




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 republished over and over by third-parties to Holmseth’s detriment. Republication by

 both identified subscribers, users, patrons and tweeps, and anonymous persons was the

 natural and probable consequence of Picazio, Murtaugh, Gaur and the John Doe

 Defendants’ actions and was actually and/or presumptively authorized by Picazio,

 Murtaugh, Gaur and the John Doe Defendants. In addition to the original publications,

 Picazio, Murtaugh, Gaur and the John Doe Defendants are liable for the republication of

 the false and defamatory statements by third-parties under the doctrine announced by the

 Supreme Court of Virginia in Weaver v. Home Beneficial Co., 199 Va. 196, 200, 98

 S.E.2d 687 (1957) (“where the words declared on are slanderous per se their repetition by

 others is the natural and probable result of the original slander.”).

        26.     Picazio, Murtaugh, Gaur and the John Doe Defendants’ false statements

 constitute defamation per se.      The statements accuse and impute to Holmseth the

 commission of numerous crimes involving moral turpitude and for which Holmseth may

 be punished and imprisoned in a state or federal institution. The statements impute to

 Holmseth an unfitness to perform the duties of an office or employment for profit, or the

 want of integrity in the discharge of the duties of such office or employment. Picazio,

 Murtaugh, Gaur and the John Doe Defendants’ statements also prejudice Holmseth in his

 profession or trade.

        27.     Picazio, Murtaugh, Gaur and the John Doe Defendants’ false statements

 have permanently and irreparably harmed Holmseth and his reputation.

        28.     Picazio, Murtaugh, Gaur and the John Doe Defendants’ acted with actual

 malice and reckless disregard for the truth for the following reasons:




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                a.      Picazio, Murtaugh, Gaur and the John Doe Defendants

 intentionally set out to destroy Holmseth’s reputation with falsehoods.       The tweets,

 retweets, blogs and videos were published in retaliation and reprisal for Holmseth’s

 investigation and reporting.

                b.      Picazio, Murtaugh, Gaur and the John Doe Defendants’ harmful

 statements were knowingly false, with not a shred of supporting evidence.

                c.      Picazio, Murtaugh, Gaur and the John Doe Defendants chose to

 manufacture and publish false and scandalous statements and use unnecessarily strong

 and violent language, disproportionate to the occasion. Indeed, in the tweets and blogs

 and “petitions” the Defendants express their clear and convincing feelings of ill-will and

 animus towards Holmseth.

                d.      Picazio, Murtaugh, Gaur and the John Doe Defendants did not act

 in good faith because, in the total absence of evidence, they could not have had an honest

 belief in the truth of their statements about Holmseth.

                e.      Picazio, Murtaugh, Gaur and the John Doe Defendants reiterated,

 repeated and continue to republish their false defamatory statements, and enticed others

 to do so, out of a desire to hurt Holmseth and to permanently stigmatize and destroy him.

        29.     Picazio, Murtaugh, Gaur and the John Doe Defendants lacked reasonable

 grounds for any belief in the truth of their statements and acted negligently in failing to

 determine the true facts.

        30.     As a direct result of Picazio, Murtaugh, Gaur and the John Doe

 Defendants’ defamation, Holmseth suffered substantial damage and loss, including, but

 not limited to, presumed damages and actual damages, loss or injury to business, pain and




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 suffering, emotional distress and trauma, insult, anguish, stress and anxiety, public

 ridicule, humiliation, embarrassment, indignity, injury to reputation, prestige and

 standing, costs, expenses and out-of-pocket loss in an amount to be determined by the

 Jury, but not less than $2,000,000.00.

     COUNT III – INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

        31.     Holmseth restates paragraphs 1 through 30 of this Complaint and

 incorporates them herein by reference.

        32.     Picazio, Murtaugh, Gaur and the John Doe Defendants’ conduct, detailed

 above, was intentional and/or reckless.

        33.     Picazio, Murtaugh, Gaur and the John Doe Defendants’ actions offend

 against generally accepted standards of decency and morality and constitute gross

 violations of the terms of service and community guidelines of Twitter and iPetition.

 Picazio, Murtaugh, Gaur and the John Doe Defendants’ actions are atrocious and utterly

 intolerable.

        34.     Picazio, Murtaugh, Gaur and the John Doe Defendants’ outrageous

 conduct caused Holmseth to suffer severe emotion distress, extreme fear and panic.

        35.     Picazio, Murtaugh, Gaur and the John Doe Defendants’ misconduct

 constitutes intentional infliction of emotional distress.

        36.     As a direct result of Picazio, Murtaugh, Gaur and the John Doe

 Defendants’ misconduct, Holmseth suffered damage and incurred loss, including, without

 limitation, pain and suffering, physical injury, severe emotional trauma, insult,

 embarrassment, humiliation, public ridicule, anguish, stress and anxiety, injury to




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 reputation, special damages, attorney's fees, costs and out-of-pocket expenses in an

 amount to be determined by the Jury, but not less than $2,000,000.00.

     COUNT IV – PERSONAL TRESPASS AND COMPUTER HARASSMENT

        37.     Holmseth restates paragraphs 1 through 36 of this Complaint and

 incorporates them herein by reference.

        38.     Picazio, Murtaugh, Gaur and the John Doe Defendants have used

 computers or a computer network to cause physical injury to Holmseth.             Picazio,

 Murtaugh, Gaur and the John Doe Defendants, with the intent to coerce, intimidate, or

 harass Holmseth, have also used computers or a computer network to communicate

 vulgar, profane, and indecent language and to threaten illegal or immoral acts.

        39.     Picazio, Murtaugh, Gaur and the John Doe Defendants’ conduct

 constitutes personal trespass by computer in violation of § 18.2-152.7 of the Code and

 computer harassment in violation of § 18.2-152.7:1 of the Code.

        40.     Holmseth was injured because of Picazio, Murtaugh, Gaur and the John

 Doe Defendants’ violations of § 18.2-152.7 and § 18.2-152.7:1 of the Code.

        41.     As a direct result of Picazio, Murtaugh, Gaur and the John Doe

 Defendants’ personal trespass by computer and computer harassment, Holmseth suffered

 damage and incurred loss, including, without limitation, pain and suffering, physical

 injury, severe emotional trauma, insult, embarrassment, humiliation, public ridicule,

 anguish, stress and anxiety, injury to reputation, special damages, attorney's fees, costs

 and out-of-pocket expenses in an amount to be determined by the Jury, but not less than

 $2,000,000.00.




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        Plaintiff alleges the foregoing based upon personal knowledge, public statements

 of others, affidavits and recorded statements, including audio recordings and

 electronically stored information, in his possession. Plaintiff believes that substantial

 additional evidentiary support, which is in the exclusive possession of the Defendants and

 their agents and other third-parties, will exist for the allegations and claims set forth

 above after a reasonable opportunity for discovery.

        Plaintiff reserves the right to amend this Complaint upon discovery of additional

 instances of the Defendants’ defamation and wrongdoing.



                    CONCLUSION AND REQUEST FOR RELIEF

        WHEREFORE, Plaintiff respectfully request the Court to enter Judgment against

 the Defendants, jointly and severally, as follows:

        A.      Compensatory damages in an amount to be determined by the Jury, but

 not less than $2,000,000.00;

        B.      Punitive damages in the amount of $350,000.00 or the maximum amount

 allowed by law;

        C.      Prejudgment interest at the maximum rate allowed by law from;

        D.      Postjudgment interest at the rate of six percent (6%) per annum until paid;

        E.      Attorney’s Fees and Costs;

        F.      Such other relief as is just and proper.



                           TRIAL BY JURY IS DEMANDED




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 DATED:     May 25, 2018



                           TIMOTHY CHARLES HOLMSETH



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